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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MINNESOTA

JANE DOE, et al.,                          )
                                           )
                      Plaintiffs,          )
                                           )
and                                        )
                                           )
UNITED STATES OF AMERICA,                  )
                                           )
                      Plaintiff-Intervenor )
                                           )
v.                                         )   NO. 11-cv-01999-JNE-SER
                                           )
ANOKA-HENNEPIN SCHOOL                      )
DISTRICT NO. 11, et al.,                   )
                                           )
                                           )
                      Defendant.           )
                                           )
and                                        )
                                           )
E.R., by her next friend and parent,       )   NO. 11-cv-02282-JNE-SER
Quana Hollie,                              )
                                           )
                      Plaintiff,           )
                                           )
and                                        )
                                           )
UNITED STATES OF AMERICA,                  )
                                           )
                      Plaintiff-Intervenor )
                                           )
vs.                                        )
                                           )
ANOKA-HENNEPIN SCHOOL                      )
DISTRICT NO. 11, et al.,                   )
                                           )
                      Defendant.           )
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                                  CONSENT DECREE

       WHEREAS, student plaintiff Jane Doe and student plaintiffs K.R., D.F., B.G.,

D.M.-B., and E.R., by and through their next friends and parents (collectively “Student

Plaintiffs”), brought two separate actions against Anoka-Hennepin School District, its

School Board (together, the “District”), and several individual school administrators on

or about July 21, 2011 and August 9, 2011, alleging claims of peer-on-peer harassment

and discrimination on the basis of sex and sexual orientation in the District under the

Equal Protection Clause of the Fourteenth Amendment to the United States Constitution,

Title IX of the Education Amendments of 1972, 20 U.S.C. §§ 1681–1688 (“Title IX”),

and the Minnesota Human Rights Act, Minn. Stat. § 363A.13–.14 (“MHRA”);

       WHEREAS, the U.S. Department of Justice and the U.S. Department of

Education, through its Office for Civil Rights, (together, the “United States”), after

receiving and investigating a complaint that the District failed to adequately address peer-

on-peer harassment on the basis of sex, filed a Complaint-in-Intervention in this action

against the District alleging discrimination on the basis of sex in violation of the Equal

Protection Clause of the Fourteenth Amendment to the United States Constitution, Title

IV of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000c–2000c-9 (“Title IV”), and

Title IX;

       WHEREAS, the District denies any violation of the Equal Protection Clause,

Title IV, Title IX, or any other state or federal law and denies all liability for any alleged



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statutory or regulatory violation, by the District or any of its employees, agents, or School

Board members;

       WHEREAS, the Student Plaintiffs, the Defendants, and the United States have

conferred in good faith and have negotiated the terms of this Consent Decree to fully and

finally settle the Title IV and Title IX claims raised by the United States and the equal

protection and federal and state law claims raised by the Student Plaintiffs; and

       WHEREAS, after reviewing the terms of this Consent Decree, the Court finds

them to be fair, just, reasonable, and consistent with federal law, and the Student

Plaintiffs, the Plaintiff-Intervenor United States, and the District agree that entry of this

Consent Decree, without further litigation, is in the public interest;

ACCORDINGLY, THE COURT ORDERS, ADJUDGES, AND DECREES:

                         I.      JURISDICTION AND VENUE

       A.     This Court has jurisdiction over the subject matter herein pursuant to 28

U.S.C. §§ 1331, 1343, 1345, and 2201-2202, as well as 42 U.S.C. §§ 2000c–2000c-9,

20 U.S.C. §§ 1681–1688, and 29 U.S.C. § 1367(a).

       B.     Venue in the District of Minnesota is proper pursuant to 28 U.S.C.

§ 1391(b).

                                  II.     DEFINITIONS

       A.     “Harassment” includes the use of derogatory language, intimidation, and

threats; unwanted physical contact and/or physical violence, or the use of derogatory



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language and images in graffiti, pictures or drawings, notes, e-mails, electronic postings

and/or phone messages related to a person’s membership in a protected class.

       B.     “Sex-based harassment” includes both sexual harassment and gender-based

harassment.

              1.     “Sexual harassment” means harassment (see supra Section II.A. at

pp. 3-4) of a sexual nature.

              2.     “Gender-based harassment” means non-sexual harassment of a

person because of the person’s sex, including harassment based upon gender identity and

expression. Gender-based harassment includes, but is not limited to, harassment based

on the person’s nonconformity with gender stereotypes, regardless of the actual or

perceived sex, gender identity, or sexual orientation of the harasser or target of the

harassment.

       C.     “Gender stereotypes” refers to stereotypical notions of masculinity and

femininity or expectations of how boys or girls should act.

       D.     “Sexual orientation” means having or being perceived as having an

emotional, physical or sexual attachment to another person without regard to the sex of

that person; or having or being perceived as having an orientation for such attachment; or

having or being perceived as having a self image or identity not traditionally associated

with one’s biological maleness or femaleness. Minn. Stat. § 363A.03, subd.44.

       E.     “Sexual orientation-based harassment” means non-sexual harassment of a

person because of the person’s actual or perceived sexual orientation or association with

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or advocacy for a person or group (e.g., family members or friends) who are lesbian, gay,

bisexual or transgender (“LGBT”).

      F.     The primary purpose of this Consent Decree is to address sex-based and

sexual orientation-based harassment. Accordingly, for purposes of this Consent Decree,

the use of the term “harassment” means sex-based harassment and sexual orientation-

based harassment, as defined supra.

      G.     A “hostile environment” exists when harassment is sufficiently severe,

persistent, or pervasive to interfere with or limit one or more students’ abilities to

participate in or benefit from the educational program.

                                III.   BACKGROUND

      A.     Student Plaintiffs are six current or former students of the District who filed

complaints seeking injunctive and declaratory relief, nominal, compensatory, and

punitive damages, and attorneys’ fees, expenses, and costs.

      B.     For purposes of this Consent Decree, “United States” refers to the United

States Department of Justice (“DOJ”) and the United States Department of Education,

through its Office for Civil Rights (“OCR”).

             1.     DOJ is the federal agency responsible for pursuing enforcement

proceedings in federal courts for violations, or suspected violations, of Title IV. See

Title IV. DOJ also enforces Title IX in federal courts either by intervention or as amicus

curiae in private lawsuits, or upon referral from OCR. See 20 U.S.C. § 1682; Exec. Order

No. 12,250, 45 Fed. Reg. 72,995 (1980); 28 C.F.R. § 0.51 (1998).

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              2.     OCR is the office within the Department of Education responsible

for administratively enforcing Title IX, which prohibits discrimination on the basis of sex

in any educational program or activity receiving federal financial assistance.           See

Title IX.

       C.     The District administers a system of one or more public schools and is

responsible for the assignment of students to or within such system; therefore the District

is subject to Title IV. The District is a recipient of federal financial assistance and is

therefore also subject to Title IX and its implementing regulations, 34 C.F.R. § 106.31.

The District is an educational institution and therefore subject to the MHRA.

       D.     Following its investigation of the complaint it received, the United States

began settlement discussions with the District prior to the commencement of the Student

Plaintiffs’ lawsuit. After Student Plaintiffs filed their lawsuit and pursuant to the Court’s

request, the United States joined the settlement negotiations of the Student Plaintiffs and

the District in an attempt to resolve the complaints and avoid protracted litigation. These

negotiations resulted in the agreement of the parties as set forth in this Consent Decree.

                         IV.    GENERAL REQUIREMENTS

       A.     The District shall take action, in accordance with the requirements of Title

IV and Title IX, their implementing regulations, and OCR Guidance, to eliminate and

prevent future instances of harassment in its education programs and activities. To

accomplish this, the District agrees to make all necessary and appropriate revisions to its

harassment policies; appropriately and immediately respond to and stop all conduct that

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may constitute harassment; ensure it fully investigates reported conduct that may

constitute harassment; escalate remedial efforts by instituting additional measures when

students are harassed on a repeated basis; and mitigate the effects of harassment that

occurs. The District shall also take proactive measures to address issues in the school

climate that have arisen from or may arise from and/or contribute to a hostile

environment.

       B.      No later than April 9, 2012, the District shall retain the Great Lakes Equity

Center, an Equity Assistance Center based at Indiana University-Purdue University

Indianapolis, or another qualified third-party consultant mutually agreed upon by the

District and the United States, to consult with the District to study and determine what

additional measures the District needs to take to effectively address, prevent, and respond

to harassment at District schools and comply with the terms of this Consent Decree. The

entity or individual retained shall be called the “Equity Consultant” throughout this

Consent Decree. The District will be responsible for any costs associated with the

retention of the Equity Consultant. The District shall give the Equity Consultant access

to any and all data, documents, or information the Consultant deems necessary to fulfill

his or her duties under this Consent Decree.1

       C.      This Consent Decree shall remain in force for five (5) years from the date it

is entered by the Court.

1
       The Equity Consultant’s access to personally identifiable information shall be in
accordance with the regulations of the Federal Educational Rights and Privacy Act, 34
C.F.R. § 99.31(a)(1).

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                           V.       SPECIFIC REQUIREMENTS

       A.       Revisions to District Policies and Procedures

                1.    The District shall engage the Equity Consultant to review and

recommend revisions as necessary to all of the District’s policies and procedures related

to the issues identified in this Consent Decree, including, but not limited to, any policy

that impacts harassment, to ensure that they specifically and appropriately address

harassment pursuant to the Equal Protection Clause, Title IV, Title IX, and the MHRA.

                2.    For purposes of this Consent Decree, the policies and procedures

encompassed by the preceding paragraph that the Equity Consultant shall review are

referred to as “relevant policies and procedures” and shall include, but not be limited to:

Bullying Prohibition Policy (Board Policy 514.0); Equal Educational Opportunity Policy

(Board Policy 102.0); Harassment, Violence and Discrimination Policy (Board Policy

413.0) (“HVD Policy”); Harassment, Violence and Discrimination Reporting Form; and

Language of Harassment procedures, attached as Exhibits A, B, C, D, and E,

respectively.

                3.    In addition to the recommendations of the Equity Consultant,

revisions to the District’s relevant policies and procedures shall also include:

                      a.        Adding all of the terms and definitions set forth in Section II

of this Consent Decree, specifying that all harassment, including that based on

nonconformity to gender stereotypes and/or gender identity and expression, is prohibited

in the District;

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                        b.   Written guidance providing examples of the types of

harassment prohibited by the District’s policies;

                        c.   A requirement that District personnel investigate, address,

and respond appropriately to every harassment incident, in accordance with the

requirements of Title IV and Title IX, their implementing regulations, and OCR

Guidance, whether reported (verbally or in writing) by the harassed student, a witness, a

parent, or any other individual; observed by any District employee; or brought to the

District’s attention by any other means;

                        d.   Adding the contact information, including the physical

address, phone number and email address, for the District’s Title IX Coordinator and

Equity Coordinator (see infra Sections V.B. and V.C. at pp. 16, 21);

                        e.   A protocol for (i) when an incident or series of incidents of

harassment of a particular student or group of students rises to a level of severity or

persistence requiring District staff to notify the parent(s)/guardian(s) of the harassed

student(s), ensuring that the individual notifying parents/guardians of the harassment is

sensitive to any personal concerns of the student in discussing the basis/bases of the

harassment with the harassed student’s parent/guardian, and (ii) when an incident or

series of incidents of harassment by a particular student or group of students rises to a

level of severity or persistence requiring District staff to notify the parent/guardian of the

harassing student(s);



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                     f.     A requirement that the District’s procedures involve tracking

electronically all harassment incidents (including any written or verbal report, discipline

referral, or complaint involving possible sex-based or sexual orientation-based

harassment (“harassment incidents” ) and that the tracking includes: relevant information

related to the student harassed; the person reporting the harassment (if different than the

student harassed); the alleged harasser; all known witnesses to the alleged incident(s);

specific details on the date(s), time(s), nature, content, and location(s) of the harassment

incident(s); the date the complaint or other report was made; the date the alleged harasser

was interviewed; a brief summary of the investigating officials’ findings and the basis for

those findings (consistent with the District’s current practice and subject to any

recommendations of the Equity Consultant); and the District’s response to the incident;

except that for incidents involving no identified student target(s), the District will develop

a district-wide system for tracking the frequency of each incident, including, for example,

taking a photo or otherwise recording the date and location of the incident in a matter that

can then be sent for tracking and investigation purposes to the Title IX Coordinator

and/or Equity Coordinator, as appropriate;

                     g.     In order for the District to identify, address, and eliminate

harassment, a requirement that, at a minimum, the District tracks all incidents of

harassment that are directed at a particular student or students as well as written or

graphic statements (e.g., graffiti) located or distributed before, during or after school

hours on all school property, including the school bus, at school functions, or at school-

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sponsored events held at other locations; and any off campus conduct that has a

continuing effect on campus.

                            i.     At the end of the 2012-2013 school year, the District

and the Equity Consultant shall confer with the United States concerning whether the

District should track additional types of incidents in the 2013-2014 school year and

beyond.

                            ii.    The       District     shall    consider     additional

recommendations of the Equity Consultant, if any.

                            iii.   The District, the Equity Consultant, and the United

States will work together in good faith to resolve any disagreements. If the District and

the United States are unable to resolve any disagreements in a reasonable period of time,

either party may request that the Court mediate the dispute.

                     h.     A requirement that any supporting written documentation

related to any harassment incident be maintained for the duration of this Consent Decree,

including but not limited to: any written report or complaint; interview notes; any written

statements of the student(s) harassed and/or person(s) reporting the harassment; any

records of correspondence with the parent(s) or guardian(s) of the student(s) harassed and

the alleged harasser(s) or his or her parents or guardian(s) regarding the incident; and

existing documentation of any prior incidents of discrimination or harassment involving

the student(s) subject to harassment or the alleged harasser(s).

              4.     Procedures and Timeline for Revision and Implementation

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                    a.      No later than April 23, 2012, the Equity Consultant shall

communicate to the District and to the United States his or her: (1) findings or

conclusions regarding areas needing editing, clarification, or improvement in the relevant

policies and procedures, and (2) recommendations for revisions to the relevant policies

and procedures.

                    b.      No later than May 15, 2012, the District shall submit to the

United States for review and approval its proposed revisions to its relevant policies and

procedures incorporating all of the Equity Consultant’s recommendations, or proposing

alternative revisions and explaining how the District’s proposed alternative revisions are

less burdensome, more feasible, or more appropriate and still address or remedy the

Equity Consultant’s findings and conclusions.

                    c.      Under the terms of this Consent Decree, the United States has

authority to review and approve the District’s proposed revisions for compliance with

Title IV and Title IX, their implementing regulations, OCR Guidance, this Consent

Decree, and the underlying reasons for this Consent Decree. Such approval will not be

unreasonably withheld, and the United States shall complete such review within thirty

(30) calendar days of receipt of the proposed revisions. If, however, the District and the

United States initially disagree regarding the proposed revisions, the District, the Equity

Consultant, and the United States will work together in good faith to resolve any

disagreements.    If the District and the United States are unable to resolve any



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disagreements in a reasonable period of time, either party may request that the Court

mediate the dispute.

                       d.   After the United States approves the proposed revised

policies and procedures, the Board will review the proposed revised policies and

procedures at its next scheduled meeting.

                            i.     If the Board receives the United States’ approval of the

revised policies and procedures six (6) or more calendar days before its next scheduled

meeting, it shall conduct a vote on whether to adopt the revisions within two (2) public

meetings. If the Board receives the United States’ approval of the revised policies and

procedures within five (5) calendar days of its next scheduled meeting, it shall conduct a

vote on the revisions within three (3) public meetings.

                            ii.    If the Board modifies or rejects the proposed revised

policies and procedures, the District shall resubmit a new proposal for revisions to the

relevant policies and procedures to the United States.

                            iii.   Under the terms of this Consent Decree, the United

States has authority to review and approve the District's proposed revisions to its relevant

policies and procedures for compliance with Title IV and Title IX, their implementing

regulations, OCR Guidance, this Consent Decree, and the underlying reasons for this

Consent Decree. Such approval will not be unreasonably withheld, and the United States

shall complete such review within thirty (30) calendar days of receipt of the proposed

revisions. The District, the Equity Consultant, and the United States will work together

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in good faith to resolve any disagreements. If the District and the United States are

unable to resolve any disagreements in a reasonable period of time, either party may

request that this Court mediate the dispute.

                     e.     The District will continue to distribute annually its student

and employee handbooks, and such handbooks shall contain the revised relevant policies

and procedures printed in full along with the title and contact information of the school-

level and District-level individuals responsible for receiving and/or responding to

harassment complaints, including the names and contact information for the Title IX

Coordinator and Equity Coordinator.      If the District has not yet identified or hired the

school-level and District-level individuals responsible for receiving and/or responding to

harassment complaints, Title IX Coordinator, or Equity Coordinator at the time it prints

the annual student and employee handbooks, the handbooks shall provide full contact

information, including an email address that the later-identified employee will access

(e.g., titleix@anoka.k12.mn.us for the Title IX Coordinator).

                     f.     The District’s website shall contain the revised relevant

policies and procedures in full; the name and contact information of the school-level and

District-level individuals responsible for receiving harassment complaints, including the

Title IX Coordinator and Equity Coordinator; and a statement encouraging students to

report incidents of harassment immediately.

                     g.     The District shall make available a hyperlink to the revised

Harassment, Violence and Discrimination Reporting Form (Exhibit E) on the District’s

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website in a form-fillable PDF allowing direct electronic submission of the completed

document to school and/or District officials, available in the languages represented in the

District, and the District shall publicize the availability of this online form to all its

students and their parents or guardians.

                     h.     When the District revises any of the relevant policies or

procedures during a school year pursuant to Section V.A.1-4 at pp. 8-15 of this Consent

Decree, it shall disseminate notice of the revised policies and procedures to its students,

parents and guardians, and employees and ensure all students, parents and guardians, and

employees are able to access a full copy of the revised policies and procedures (e.g., by

announcement on the District’s website, email distribution to parents/guardians and

employees, distribution of a written notice to students to take home with information on

where hard copies of the revised policies are available, posting on school bulletin boards,

etc.) not to exceed thirty (30) days after board approval.

                     i.     The District will work with the Equity Consultant to

determine appropriate ways to explain and address questions or concerns regarding the

revised policies and procedures from students, parents and guardians, and employees.

              5.     Once the District revises its relevant policies and procedures

pursuant to the terms above, the District will not modify those policies and procedures,

rescind any of the policies or procedures, or adopt any new policies or procedures that

relate to, are relevant to, or affect harassment during the period of the Consent Decree

without following the process set forth in Sections V.A.4.b-d. at pp. 12-15.

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      B.       Title IX Coordinator

               1.    Under 34 C.F.R. § 106.8(a), the District, as a recipient of federal

funding, is required to “designate at least one employee to coordinate its efforts to

comply with and carry out its responsibilities” under Title IX, “including any

investigation of any complaint communicated to such recipient” alleging noncompliance

or actions that would violate Title IX. The District must also “notify all its students and

employees of the name, office address, and telephone number” of the Title IX

Coordinator.

               2.    The District will hire or appoint a qualified person knowledgeable in

all aspects of Title IX law (as applied to school districts) with experience conducting

training on harassment or related civil rights issues and in carrying out the duties and

responsibilities enumerated in Sections V.B.3 infra at pp. 17-18, to serve as Title IX

Coordinator. This individual is vested with responsibility from the District to ensure

proper implementation of the District’s sex-based harassment policies and procedures.

                     a.     If the District has already engaged its Equity Consultant, the

Equity Consultant shall assist the District in hiring or appointing the Title IX

Coordinator.

                     b.     Prior to making an offer of employment or an appointment of

a Title IX Coordinator, no later than April 30, 2012, the District shall submit the name

and resume or curriculum vitae of the individual it would like to hire or appoint as the

Title IX Coordinator to the United States. Under the terms of this Consent Decree, the

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United States has authority to review and approve the hiring or appointment of the

individual the District selects for Title IX Coordinator for compliance with Title IV and

Title IX, their implementing regulations, OCR Guidance, this Consent Decree, and the

underlying reasons for this Consent Decree. Such approval shall not be unreasonably

withheld.

                            i.     No later than five (5) school days after the Court enters

this Consent Decree, the District shall appoint an Interim Title IX Coordinator.

                            ii.    The Interim Title IX Coordinator shall be responsible

for the duties referenced in Section V.B.1 at p. 16 until the start date of the District’s

permanent Title IX Coordinator.

                     c.     Should the Title IX Coordinator, once hired or appointed,

leave that position during the term of this Consent Decree, the District shall immediately

notify the United States and shall work with the Equity Consultant to hire or appoint a

replacement pursuant to the terms in Section V.B.2. at pp. 16-17.

              3.     The Title IX Coordinator’s duties shall include:

                     a.     Ensuring the District complies with and carries out the

requirements of and its obligations under Title IX;

                     b.     Implementing District policies and procedures related to sex-

based harassment and ensuring administrators, staff and students comply with those

policies and procedures;



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                     c.     Monitoring all complaints of sex-based discrimination and

harassment pursuant to Section V.B.4., infra at pp. 18-20;

                     d.     Identifying trends or common areas of concern related to Title

IX compliance and assisting schools in addressing such issues;

                     e.     Coordinating between and among school and District staff,

students, and parents regarding Title IX issues including, but not limited to, issues related

to sex-based harassment;

                     f.     Training District employees and students regarding sex-based

discrimination and harassment, and District policies and procedures pursuant to

Section V.D., infra at pp. 22-29; and

                     g.     Consulting with security personnel and administrative staff

following any physical incidents of sex-based harassment or assault.

              4.     The District and its Title IX Coordinator will establish a system for

District review of school-level investigations and resolutions of student conduct that may

constitute sex-based harassment in order to ensure both compliance with the District’s

HVD Policy and that the District properly identifies all sex-based harassment as a means

to assess the effectiveness of its efforts in preventing and eliminating harassment. The

Equity Consultant will assist in the development and implementation of those procedures.

That system will require, at minimum, that:

                     a.     The Title IX Coordinator review all school-level harassment

incident reports to ensure that all alleged incidents that involved possible sex-based

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harassment were properly identified as such and responded to appropriately, in

accordance with the requirements of Title IV and Title IX, their implementing

regulations, and OCR Guidance. The Title IX Coordinator will follow up with any

particular schools or personnel who could improve their identification of or response to

sex-based harassment to address the mistake(s);

                     b.     For each harassment incident involving possible sex-based

harassment, including but not limited to situations that result in assaults, the Title IX

Coordinator will evaluate, within ten (10) school days of receiving the report, referral, or

complaint of the harassment incident:

                            i.     The investigating official’s findings and the basis for

those findings in supporting documentation; and

                            ii.    Whether the school or District’s response complied

with the HVD Policy and Title IX.

                     c.     For each instance of sex-based harassment for which the

Title IX Coordinator determines that a school’s response could be improved pursuant to

the policies and procedures established in the HVD Policy or Title IX, the Title IX

Coordinator will:

                            i.     Promptly identify all areas where the school’s response

could be improved pursuant to the HVD Policy or Title IX;

                            ii.    Promptly inform the Designated Person at that school

who has been designated pursuant to Section V.D.4 at p. 26 below and the employee(s)

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who responded to the complaint of the manner in which the response could be improved

under the HVD Policy or Title IX, and provide guidance and support necessary to ensure

that a proper response is provided in the future, including, but not limited to, additional

training and professional development;

                            iii.   Initiate timely steps to remedy the non-compliance

with regard to the particular complaint; and

                            iv.    Within seven (7) school days of completing the

investigation, contact the parents of both the student(s) subject to the harassment and the

offending student(s) to inform them of the Title IX Coordinator’s review of the

complaint, being sensitive to any personal concerns of the student related to the basis for

the harassment, provide the parents a copy of the HVD Policy, as well as the timeline for

any additional processing and/or resolution of the underlying complaint. That timeline

shall not exceed fourteen (14) school days from the date of parental contact without good

cause.

                     d.     The Title IX Coordinator shall submit for the United States’

approval written copies of the system developed pursuant to Section V.B.4 at pp. 18-20

by August 1, 2012. Under the terms of this Consent Decree, the United States has

authority to review and approve the District’s proposed system for review of school-level

investigations and resolutions of student conduct that may constitute sex-based

harassment for compliance with Title IV and Title IX, their implementing regulations,

OCR Guidance, this Consent Decree, and the underlying reasons for this Consent Decree.

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Such approval will not be unreasonably withheld, and the United States shall complete

such review within thirty (30) calendar days of receipt of the proposed system. If,

however, the District and the United States initially disagree regarding the proposed

system, the District, the Equity Consultant, and the United States will work together in

good faith to resolve any disagreements. If the District and the United States are unable

to resolve any disagreements in a reasonable period of time, either party may request that

the Court mediate the dispute.

       C.     Equity Coordinator

              1.     The District shall hire or appoint a qualified person knowledgeable

in all aspects of the MHRA and in sexual orientation-based harassment, as applied to

school districts, to serve as the Equity Coordinator. This individual will ensure proper

implementation of the District’s sexual orientation-based harassment policies and

procedures.

              2.     If the District has already engaged its Equity Consultant, the Equity

Consultant shall assist the District in hiring or appointing the Equity Coordinator.

              3.     The Equity Coordinator shall have the same duties and

responsibilities as the Title IX Coordinator under Sections V.B.3-4 at pp. 17-21, except

that the Equity Coordinator shall focus on sexual orientation-based harassment instead of

sex-based harassment.




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              4.     Additionally, the Equity Coordinator or other qualified individual

shall supervise, offer resources to, and act as a District liaison to Gay-Straight Alliance

groups (GSAs) in the District, and his or her duties in this regard shall include:

                     a.     Organizing regular meetings of GSA facilitators;

                     b.     Providing resources and support to gender nonconforming

students, to students of diverse sexual orientations, and to students whose family

members have diverse sexual orientations;

                     c.     Providing resources (consistent with the level of resources

provided to other non-curricular student groups under the Equal Access Act) on gender

identity, gender nonconformity, and sexual orientation for District teachers, staff,

administrators, and GSA facilitators; and

                     d.     Collaborating with external agencies and organizations for

support and assistance.

              5.     The District may elect to have the same individual act as both the

Title IX Coordinator and the Equity Coordinator.

       D.     Training and Professional Development

              1.     The District will work with the Equity Consultant, the Title IX

Coordinator, and the Equity Coordinator to review and recommend additions and

improvements to the trainings on harassment, consistent with best practices, for all

students and employees who interact with students in the District. All such trainings



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shall be mandatory and the District will ensure that any student or employee who misses

a scheduled training receives the training in a timely manner.

              2.     The District provides, and shall continue to provide, age-appropriate

instruction to all of its students on harassment on an annual basis and on a make-up basis

for students who miss the annually scheduled training. By September 1, 2012, the Equity

Consultant shall review and recommend improvements to the content of the District’s

training program for students. The Equity Consultant’s recommendations for student

training content shall include, but are not limited to:

                     a.      The importance of, sensitivity to, and respect for the diversity

of the student body, specifically addressing harassment, including but not limited to

issues related to sex and gender, including nonconformity with gender stereotypes.

                     b.      For students in grades 6-12:

                             i.     Instruction on the types of conduct that constitute

harassment, including the use of multiple examples of the different types of behaviors

that can constitute harassment;

                             ii.    Instruction    on     the   negative   impact   that   such

harassment has on students and on the educational environment;

                             iii.   Information regarding how students are expected to

respond to harassment they experience or witness, or of which they otherwise know or

become aware, including the reporting avenues available;



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                               iv.    Information regarding how teachers, administrators,

and staff are expected to respond to harassment they witness or to incidents that are

reported to them;

                               v.     A discussion of potential consequences for students

who harass their peers, including a statement that the District and every school in the

District will not tolerate harassment and will address all such incidents;

                               vi.    An introduction of the Title IX Coordinator and an

explanation of his/her role; and

                               vii.   An introduction of the Equity Coordinator and an

explanation of his/her role.

                      c.       For students in grades K-5, instruction designed to promote

an inclusive and safe educational environment for all students, including issues related to

the prevention of bullying and violence.

              3.      The District provides, and will continue to provide, training to all of

its teachers and administrators on harassment on an annual basis, and on a make-up basis

for those employees who miss the annually scheduled training. By July 1, 2012, the

Equity Consultant shall review and recommend improvements to the content of the

District’s staff training program. The District shall ensure all staff who interact with

students receive mandatory annual training. The Equity Consultant’s recommendations

for training content shall include, but are not limited to:



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                      a.       In-depth instruction on the type of conduct that constitutes

harassment, specifically addressing examples of sex-based and sexual orientation-based

harassment, and a discussion about the negative impact that such harassment has on

students, employees, and the educational environment;

                      b.       In-depth discussion on the importance of, sensitivity to, and

respect for the diversity of the student body. Such discussions will include the following

topics: gender identity, gender expression, level of conformity to gender stereotypes, and

sexual orientation;

                      c.       A facilitated discussion on the root causes of harassment and

the harms resulting from such conduct;

                      d.       Specific guidance and discussions of steps to foster a

nondiscriminatory educational environment for all students, specifically students who do

not conform to gender stereotypes and/or who are or might be perceived to be lesbian,

gay, bisexual, or transgender;

                      e.       A review of the revised harassment policies and procedures

with emphasis on the District’s and its employees’ responsibility to respond to all

harassment, and to take effective action to end harassment, prevent its recurrence, and as

appropriate, remedy its effects;

                      f.       An introduction of the Title IX Coordinator and an

explanation of his/her role;



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                     g.     An introduction of the Equity Coordinator and an explanation

of his/her role;

                     h.     Identification of designated staff at each school who are

available to answer questions or address concerns regarding the harassment policies and

procedures or other issues related to harassment (see infra Section V.D.4 at p. 26);

                     i.     Clarification that failure by school officials to respond in a

timely, reasonable, effective, and appropriate manner, in accordance with the

requirements of Title IV and Title IX, their implementing regulations, and OCR

Guidance, to harassment of which they knew or should have known violates District

policy as well as federal and/or state laws;

                     j.         Clarification that in countering harassment, staff should

inform harassers that the District is accepting of all students, regardless of gender

nonconformity or sexual orientation, and that comments to the contrary are inappropriate

and harmful;

                     k.      Clarification that statements of staff that expressly affirm the

dignity and self-worth of students and any protected characteristic of such students are

consistent with District policies, subject to the Equity Consultant’s recommendations.

               4.    The District has designated at least one administrator or staff

member (“Designated Person”) at each middle and high school who will be responsible

for overseeing reports and investigations of harassment and answering staff and student

questions regarding the harassment policies and procedures in his or her school.

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                    a.     By the first day of school each year, the District shall provide

the name and contact information of the Designated Person for each school on its website

and on a prominent bulletin board in each school’s main office. If the Designated Person

is identified at the time the annual student and employee handbooks are printed, the

District shall also include the name of the Designated Person in the handbooks. If the

Designated Person has not yet been identified when the handbooks are printed, the

District shall include in the handbooks the full contact information for each Designated

Person, including an email address (e.g., DPblainehs@anoka.k12.mn.us).

                    b.     Each middle and high school in the District shall also identify

and introduce its Designated Person to all students during student orientation at the

beginning of each school year.

              5.    By the first day of school each year, and then at least annually

thereafter for the term of this Consent Decree, the District, with the Equity Consultant,

the Title IX Coordinator, and the Equity Coordinator, will provide additional mandatory

training(s) on harassment to every Designated Person. The training shall include, but is

not limited to:

                    a.     In-depth instruction on talking with students who have been

subject to harassment, including specific guidance on talking with students struggling

with sexual orientation and/or gender identity or expression issues who may have

concerns about unsupportive environments; and



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                     b.     Instruction on talking with students who repeatedly harass

their peers on the basis of sex and/or sexual orientation, including examples of age-

appropriate interventions for these students.

              6.     The District, with the Equity Consultant, may develop a train-the-

trainer model for some or all of the required trainings in Section V.D.1-5, supra at pp. 22-

28. If the District uses a train-the-trainer model, it shall ensure that all individuals

leading trainings are sufficiently trained to do so. If, and only if, the Equity Consultant

and the District cannot agree on the details and procedures of a train-the-trainer model

program, the District shall propose its model to the United States. The United States may

reject proposed train-the-trainer models that are not consistent with the terms and spirit of

this Consent Decree and/or applicable civil rights laws.

              7.     The District shall work with the Equity Consultant to determine an

appropriate format for each annual and make-up training included in Section V.D.1-6 at

pp. 22-28. The District and the Equity Consultant shall ensure that the group sizes and

potential inclusion of discussions, role-plays, and/or time for questions and answers

conform to best practices in the field, as determined by the Equity Consultant.

              8.     The District is responsible for assuming any and all costs associated

with the required trainings referenced in Section V.D.1-7 at pp. 22-28.

              9.     Under the terms of this Consent Decree, the United States has

authority to review and approve the District’s design and content of the student and

employee trainings incorporating all of the requirements in Section V.D.1-7 at pp. 22-28

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for compliance with Title IV and Title IX, their implementing regulations, OCR

Guidance, this Consent Decree, and the underlying reasons for this Consent Decree. The

review and approval process shall encompass the following:

                     a.      The District and the Equity Consultant shall work together to

submit a written proposal to the United States for its student trainings incorporating all of

the requirements in Section V.D.1-7 at pp. 22-28 and including any additional

recommendations by the Equity Consultant, to the extent permitted by law, by September

30, 2012. The District and the Equity Consultant shall work together to submit a written

proposal to the United States for its employee trainings incorporating all of the

requirements in Section V.D.1-7 at pp. 22-28 and including any additional

recommendations by the Equity Consultant, to the extent permitted by law, by July 27,

2012.

                     b.      The proposal shall include detailed descriptions of the content

of the trainings, the intended audience, the size of the audience, the schedule and length

of the trainings, and the identity of the individual(s) providing the training.

                     c.      The United States shall have thirty (30) calendar days from

the day of receipt of the proposed trainings to review and approve the District’s proposed

trainings for compliance with Title IV and Title IX, their implementing regulations, OCR

Guidance, this Consent Decree, and the underlying reasons for this Consent Decree. If,

however, the District, the United States, and/or the Equity Consultant initially disagree

regarding the proposed training design and/or content, the District, the Equity Consultant,

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and the United States will work together in good faith to resolve any disagreements. If

the District and the United States are unable to resolve any disagreements in a reasonable

period of time, either party may request that the Court mediate the dispute.

       E.     Mental Health Needs of Students

              1.     The District agrees that a counselor or other professional qualified to

assist students with mental health concerns will always be available during school hours

to assist students who have mental health concerns.

              2.     By September 4, 2012, the District agrees to hire or appoint a

qualified individual who holds a Masters degree or a PhD in a mental health field, a

current licensure, and has previous experience as a clinician, to act as a consultant

(“Mental Health Consultant”). The Mental Health Consultant will review and assess

current practices in the District with regard to assisting middle and high school students

who are targets of harassment, including students who may be at risk for mental health

problems that include, but are not limited to depression, anxiety, cutting and other self-

injurious behaviors, and/or suicidal ideation or suicide attempts.

              3.     By December 31, 2012, the Mental Health Consultant will prepare a

report (the “Mental Health Report”) recommending action steps for the District to

effectively address, assist, and respond to middle and high school students who are

targets of harassment, including students who may be at risk for mental health problems

that include, but are not limited to depression, anxiety, cutting and other self-injurious

behaviors, and/or suicidal ideation or suicide attempts.

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              4.     At a minimum, the Mental Health Report shall include the

following:

                     a.     Assessment of the mental health needs of middle and high

school students in the District who were targets of harassment;

                     b.     Recommendations for ways in which the District can better

meet the mental health needs of such middle and high school students;

                     c.     A review of the District’s procedures for identifying risk

factors for such middle and high school students struggling with serious mental health

issues and recommendations for improvements, if necessary;

                     d.     A review of the District’s procedures for intervention with

such middle and high school students at risk for depression, anxiety, cutting and other

self-injurious behaviors, and suicide, consistent with its obligations under the Individuals

with Disabilities Education Act, 20 U.S.C. §§ 1400–1482, Americans with Disabilities

Act, 42 U.S.C. §§ 12131–12134, and Section 504 of the Rehabilitation Act of 1973,

29 U.S.C. §§ 794, 794a, and recommendations for improvements, if necessary;

                     e.     A review of the District’s procedures for tracking such middle

and high school students at risk for depression, anxiety, cutting and other self-injurious

behaviors, and suicide, and recommendations for improvements, if necessary;

                     f.     A review of the District’s policies and procedures for

handling suicidal ideation, suicide attempts, and other mental health crises among

students in the District and recommendations for improvements, if necessary; and

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                    g.     A review of the District’s training(s) for middle and high

school administrators, counselors, psychologists, and any other District mental health

professionals related to any of the recommendations contained in the Mental Health

Report, and recommendations for improvements, if necessary.

             5.     The District, after hiring or appointing its Mental Health Consultant,

shall provide the Mental Health Consultant with all information he or she believes is

necessary to prepare the Mental Health Report pursuant to the requirements set forth in

Sections V.E.3-4, supra at pp. 30-31.2

             6.     Within seven (7) calendar days of its receipt, the District shall

provide the United States with a copy of the Mental Health Report.

             7.     By January 31, 2013, the District shall submit to the United States

for its review and approval a plan detailing how the District intends to address the

recommendations contained in the Mental Health Report for the 2012-2013 school year

and subsequent school years. Under the terms of this Consent Decree, the United States

has authority to review and approve the District’s plan for addressing the Mental Health

Report recommendations for its compliance with Title IV and Title IX, their

implementing regulations, OCR Guidance, this Consent Decree, and the underlying

reasons for this Consent Decree. Such approval will not be unreasonably withheld, and

the United States shall complete such review within thirty (30) calendar days of receipt of

2
       The Mental Health Consultant’s access to personally identifiable information shall
be in accordance with the regulations of the Federal Educational Rights and Privacy Act,
34 C.F.R. § 99.31(a)(1).

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the District’s plan. If, however, the District and the United States initially disagree

regarding the proposed plan, the District and the United States will work together in good

faith to resolve any disagreements. If the District and the United States are unable to

resolve any disagreements in a reasonable period of time, either party may request that

the Court mediate the dispute.

       F.     Anti-Bullying Survey

              1.     The District will continue to administer an Anti-Bullying Survey

(“Survey”) and will do so once per school year. The District shall ensure that the Survey

includes questions regarding the “hot-spots” (see infra Section H at pp. 36-37) within

each school where harassment is occurring.

              2.     In consultation with the Equity Consultant, the District shall review

the Survey to ascertain its effectiveness in assessing the presence and impact of

harassment at each middle and high school in the District. By October 16, 2012, the

Equity Consultant shall make recommendations to enhance the Survey’s effectiveness.

              3.     In making his or her recommendations regarding the Survey, the

Equity Consultant shall consider (i) the number and adequacy of the questions related to

harassment; and (ii) the appropriate survey participants.

              4.     The    District   shall        implement   the   Equity   Consultant’s

recommendations in revising the content and participants of the Survey, unless the

District disagrees with the recommendations. If the District disagrees with the Equity

Consultant’s recommendations regarding the Survey, the District shall submit to the

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United States an alternative proposal regarding the Survey, detailing the Equity

Consultant’s recommendations and explaining why the District disagrees with them.

Under the terms of this Consent Decree, the United States has authority to review and

approve the District’s alternative Survey proposal for compliance with Title IV and Title

IX, their implementing regulations, OCR Guidance, this Consent Decree, and the

underlying reasons for this Consent Decree. Such approval will not be unreasonably

withheld, and the United States shall complete such review within thirty (30) calendar

days of receipt of the District’s plan. If the District and the United States are unable to

resolve any disagreements in a reasonable period of time, either party may request that

the Court mediate the dispute.

             6.      With assistance from the Equity Consultant, the District will analyze

the results of the Survey in writing.     The analysis will include any climate issues

identified through the Surveys and recommendations to address harassment as needed.

Within 30 days of when the District receives the survey results, the District will produce

a copy of the Survey analysis and recommendations to the United States.

             7.      The Equity Consultant will train the District administrators on how

to properly interpret the results of its Survey and respond to the findings (e.g., modify

policies or procedures as necessary, according to the terms of this Consent Decree).




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      G.     Anti-Bullying/Anti-Harassment Task Force

             1.      The District has formed an Anti-Bullying/Anti-Harassment Task

Force (“Task Force”) to advise the District regarding how best to foster a positive

educational climate free of harassment.

             2.      The District shall work with the Equity Consultant to assess and

expand the composition, mission, and functions of the Task Force pursuant to the

guidelines outlined herein by July 31, 2012. At a minimum, members of the Task Force

shall include, but are not limited to: the Title IX Coordinator, the Equity Coordinator,

students (including at least two Gay-Straight Alliance (“GSA”) members, so long as there

are two GSA members who wish to participate), parents of students in the District

(including at least two parents of GSA members, so long as there are two GSA parents

who wish to participate), teachers or school counselors, and school administrators. The

Equity Consultant shall ensure that parents and students have meaningful representation

on the Task Force.

             3.      The Title IX Coordinator, or his or her designee, shall coordinate

and schedule the Task Force’s meetings and work.

             4.      The Task Force shall meet at least twice per school year and

maintain documentation of the date and duration of each meeting as well as meeting

minutes.

             5.      At least once per school year, and more often if the Task Force

deems it appropriate, the Title IX Coordinator or his/her designee will prepare a written

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report (“Task Force Report”) summarizing the Task Force’s recommendations and

suggestions. Each annual Task Force Report shall be completed no later than June 30 of

each year that the Consent Decree is in effect. The Task Force Report shall include, but

not be limited to:

                       a.    Concerns of students and parents related to harassment

incidents and the District’s overall climate;

                       b.    Recommendations for strategies to prevent harassment and

improve the climate;

                       c.    Outreach strategies to parents and families to build awareness

around, address concerns related to, and gain feedback regarding the District’s anti-

harassment efforts.

              6.       Within seven (7) calendar days of receiving the Task Force Report,

the District shall provide the Equity Consultant and the United States with copies of the

Report. The District shall carefully consider the findings and recommendations of the

Task Force.

       H.     Harassment Hot-Spots

              1.       In consultation with the Equity Consultant in 2012-2013 and on its

own for the remainder of the term of the Consent Decree, at least once each trimester

during the school year, the District will identify “hot-spots” in its middle and high

schools where harassment is most often occurring, including outdoor locations on each



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school property where students congregate (e.g., parking lots) and on school buses. The

District shall seek and consider student input in identifying hot-spots.

              2.     Based on a review of the data and the recommendations of the

Equity Consultant, the District will work in good faith with the Equity Consultant to

agree on appropriate corrective actions by the District to eliminate harassment in the

identified hot-spots. The corrective actions may include, but are not limited to, training

students to assist in monitoring hot-spots, assigning staff to monitor hot-spots, and/or

adding additional cameras in certain school locations or on buses and monitoring those

cameras. The District will implement the agreed actions and promptly notify the United

States of its actions no later than fourteen (14) school days after the last day of each

trimester.

              3.     The District shall ensure that any person designated to monitor a

harassment hot-spot has attended trainings on the District’s harassment policies and

procedures. The District will ensure that those employees who begin employment after

such annual training has occurred will work with the Title IX Coordinator and Equity

Coordinator to ensure each new employee receives training on the District’s harassment

policies and procedures.

              4.     The parties acknowledge that the school bus drivers who work in the

District are not District employees, but rather are the employees of vendors with whom

the District contracts. The District will work with its school bus vendors to ensure that

school bus drivers receive annual training on the District’s harassment policies and

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procedures, and to ensure that the bus vendors have processes in place to provide each

new bus driver with training on the District’s harassment policies and procedures.

      I.     Peer Leadership

             1.     The District shall ensure that all of its middle and high schools have

a peer leadership program addressing harassment by the beginning of the second

trimester of the 2012-2013 school year.3 The District may tailor its peer leadership

programs to the specific needs of each individual middle and high school, so long as

every program has an anti-harassment component. The Equity Consultant may assist the

District in setting up or improving its peer leadership programs and in tailoring the

programs to each school building.

             2.     The District will work with the Equity Consultant to review the need

for additional training on responding to or preventing harassment for students in the peer

leadership programs.

      J.     Student Meetings

             1.     The Superintendent or an Associate Superintendent of the District

shall continue the District’s practice of convening annual meetings with students at every

middle school and high school, including alternative schools, in the District. Each school

administration shall select 15-20 students to attend the Superintendent meeting, making

3
       See, e.g., Roosevelt Middle School’s peer leadership program, in which student
leaders are identified in each grade level to establish a student-led anti-bullying group
that leads team-building, anti-bullying activities during advisory periods, stands up
against bullying when they see it, assists targeted students who are struggling with
bullying, and makes videos, posters, and other displays to raise awareness.

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every effort to choose students with a diversity of backgrounds, interests, and

experiences.    Each school shall endeavor to choose at least two students who are

members of the school’s GSA.

               2.    The meetings shall last at least one class period, and students must

be specifically asked about and provided with the opportunity to discuss any concerns

they have about incidents of harassment.

               3.    During each meeting, the District will emphasize its commitment to

having a school environment free from all harassment and inform attendees about the

Task Force (see Section V.G. at pp. 34-36 of this Consent Decree), including identifying

the representatives on the Task Force from that particular school.

               4.        If students identify any specific incidents of harassment during or

after the meeting, the District will commence an investigation of each incident as soon as

possible, in accordance with the HVD Policy. If students express concerns about the

school climate, the District will address the concerns consistent with the terms of this

Consent Decree.

               5.    During each meeting, the District will also remind the students of

their right to file a complaint of harassment at any time they believe they have been

subjected to harassment and will advise the students of the procedure they should follow

if they wish to do so.

               6.    During each meeting, the District will inform students that if they

have concerns they wish to share with the Superintendent or Associate Superintendent

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privately, they may do so immediately after the group meeting or at any other time by

email.

                7.    The Superintendent or an Associate Superintendent shall submit a

written summary of all meetings, identifying key issues by school and all necessary

follow-up tasks, if any, to the Equity Consultant, the Title IX Coordinator, the Equity

Coordinator and the United States no later than thirty (30) calendar days after all of the

middle and high school meetings have taken place in that school year.

         K.     Monitoring and Assessment of Program Effectiveness

                1.    By September 4, 2012, the District will develop and begin

implementing a monitoring program to assess the effectiveness of its anti-harassment

efforts.      In developing the monitoring program, the District will consider the

recommendations and suggestions made by the Equity Consultant.

                2.    At the conclusion of each school year, the District, in collaboration

with the Equity Consultant, the Title IX Coordinator, and the Equity Coordinator, will

conduct an annual assessment of the effectiveness of the District’s anti-harassment

efforts. Such assessment shall include, but is not limited to:

                      a.    A review of the Anti-Bullying/Anti-Harassment Task Force

Report(s);

                      b.    A review of the anti-bullying surveys and related analysis;




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                     c.      The Title IX Coordinator’s review of all reports of sex-based

harassment and District responses thereto in its electronic database, including any and all

supporting documentation and/or underlying analyses;

                     d.      The Equity Coordinator’s review of all reports of sexual

orientation-based harassment and District responses in its electronic database;

                     e.      An analysis of all harassment incidents in the District

disaggregated by the sex, school, and grade of both the accused harasser and harassed

student;

                     f.      Evaluation and analysis of the data collected, including an

assessment of whether the reported incidents of harassment have increased or decreased

in number and severity; whether certain students are repeatedly harassed or repeated

alleged perpetrators in harassment complaints; and differences between and among

individual District schools in the numbers, types, and severity of harassment incidents.

              3.     Based    on   the   annual   assessment    conducted    pursuant      to

Section V.K.2. at pp. 40-41, the District shall develop recommendations for ways to

improve its anti-harassment program.

              4.     By July 15 of each year this Consent Decree is in effect, the District

shall submit to the United States for review: (1) a report analyzing all of the information

collected and reviewed pursuant to Section V.K.2. at pp. 40-41; (2) its proposed

recommendations for improvements to its anti-harassment program pursuant to Section

V.K.3. at p. 41; and (3) timelines for the implementation of the recommendations.

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                 5.    If the United States provides comments on the District’s proposed

recommendations for improvement actions and timelines for their implementation, it will

do so no later than the first Friday in August of each year. The District shall incorporate

the United States’ comments into the District’s action plans, unless the District disagrees

with the recommendations. If the parties disagree about the United States’ comments to

the District’s proposed recommendations, the District and the United States will work

together in good faith to resolve any disagreements. If the District and the United States

are unable to resolve any disagreements in a reasonable period of time, either party may

request that the Court mediate the dispute.

       L.        Reporting

                 1.    The District will provide all reports, documents, and information

required to be produced to the United States, including all information required pursuant

to this Consent Decree, in electronic form, usable by the United States, or in written form

if the data in electronic form would not be usable, in accordance with the timelines set

forth herein.4


4
        The District shall provide to DOJ and OCR one copy of all documents and
information it is required to produce to the United States in this Consent Decree, directed
to the following attorneys:

Torey Cummings and Tamica Daniel                   Leticia Soto
U.S. Department of Justice                         U.S. Department of Education
Civil Rights Division                              Office for Civil Rights
Educational Opportunities Section, PHB 4300        Citigroup Center
601 D Street NW                                    500 W. Madison Street Suite 1475
Washington, DC 20004                               Chicago, IL 60661-7204
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                     a.      The District shall produce to the United States all reports,

documents, and information required by this Consent Decree, including those that contain

private student information. The law enforcement exception to the Family Educational

Rights and Privacy Act (“FERPA”) applies to the United States in this matter, allowing it

to receive documents containing private student information. See 20 U.S.C. § 1232g

(b)(1)(C)(ii); see also United States v. Bertie Cnty. Bd. of Educ., 319 F. Supp. 2d 669,

671–72 (E.D.N.C. 2004). The United States shall maintain the confidentiality of any

protected private student information it receives from the District.

                     b.      The District acknowledges that, pursuant to the Minnesota

Government Data Practices Act, Minn. Stat. § 13.01–13.99 (“MGDPA”), the Student

Plaintiffs are entitled, upon request, to copies of all documents that the District is required

to provide to the United States pursuant to this Consent Decree, with any private data

redacted as required by statute. The District agrees that it will provide those documents

to counsel for the Student Plaintiffs pursuant to their request under Minn. Stat. § 13.03,

subd. 3, appended hereto as Exhibit F. Such reports will be provided concurrently with

the District’s delivery of those reports to the United States. However, the District shall

not produce to Student Plaintiffs any documents or information containing private student

information subject to FERPA, see 20 U.S.C. § 1232g, and the MGDPA. Instead, the

District will provide documents or information containing private student information to

the United States only. The United States will then provide Student Plaintiffs with

summaries or redacted reports so that Student Plaintiffs do not receive any private student

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information. The District agrees to promptly notify Student Plaintiffs and the United

States of the submission of any reports to the United States that are in need of redaction.

              2.     If the District, despite its good faith efforts, is unable to meet any

timeline set forth in this Consent Decree, it will immediately notify the United States, of

the delay and the reason therefor. The United States may provide a reasonable extension

of the timeline at issue and will consider any request for extension of time in good faith.

              3.     At the end of each trimester, the District will provide documentation

of its compliance with this Consent Decree through written electronic compliance reports,

which will be produced to the United States within fourteen (14) school days of the last

day of each trimester of each year this Consent Decree is in force. Each compliance

report will cover the immediately preceding trimester, and will include the following

information and documents:

                     a.     The date and duration of each training session required by

this Consent Decree; copies of all agendas for such training sessions; and copies of any

training materials distributed at the trainings, including videos or Power Point

presentations;

                     b.     The number of people, by position and school, who did not

receive each required training and the District’s plan for these individuals to receive the

training(s) they missed. The District will provide additional verification of completed

training for those individuals who received rescheduled training;



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                     c.     A summary of harassment incidents that includes data, by

school, on: the number and types of complaints; the prevalence of each type of

harassment (e.g., physical, verbal, or written); the remedial or disciplinary actions taken;

the sex of harassed student and accused harasser; and any other relevant information.

Copies of all supporting documentation shall be maintained at the Title IX Coordinator or

the Equity Coordinator’s office for review, upon request, by the United States;

                     d.     Copies of any District policies and procedures related to

harassment or discrimination that the District has revised, adopted, or rescinded since the

last compliance report;

                     e.     Certification by the Title IX Coordinator that he or she has

reviewed all harassment incidents related to bullying, discrimination, and harassment

based on sex, and all documentation related to such incidents, to determine whether all

harassment incidents were properly identified, investigated, and resolved consistent with

District policies and procedures, or, if not, that he or she has taken appropriate corrective

action pursuant to Section V.B.4. at pp. 18-21 of this Consent Decree;

                     f.     Certification by the Equity Coordinator that he or she has

reviewed all harassment incidents related to bullying, discrimination, and harassment

based on sexual orientation, and all documentation related to such incidents, to determine

whether all harassment incidents were properly identified, investigated, and resolved

consistent with District policies and procedures, or, if not, that he or she has taken

appropriate corrective action pursuant to Section V.C.3. at p. 21 of this Consent Decree;

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                     g.     Certification by the Title IX Coordinator that, if and when

corrective action was necessary for Title IX compliance pursuant to Section V.B.4.c at

pp. 19-20 of this Consent Decree, he or she, at a minimum, took the following corrective

action: reviewed all documentation from the incident; identified all areas where the

school or District response did not comply with District policies and procedures; initiated

timely steps to remedy violations of District policies and procedures; and contacted the

parent(s) of the student(s) subject to the harassment and parent(s) of the offending

student(s) to inform them of the Title IX Coordinator’s involvement in the matter, the

applicable policies and procedures, and the timeline for resolving the underlying

complaint;

                     h.     Certification by the Equity Coordinator that, if and when

corrective action was necessary for MHRA compliance pursuant to Section V.C.3. at p.

21 of this Consent Decree, he or she, at a minimum, took the following corrective action:

reviewed all documentation from the incident; identified all areas where the school or

District response did not comply with District policies and procedures; initiated timely

steps to remedy violations of District policies and procedures; and contacted the parent(s)

of the student(s) subject to the harassment and the parent(s) of the offending student(s) to

inform them of the Equity Coordinator’s involvement in the matter, the applicable

policies and procedures, and the timeline for resolving the underlying complaint; and

                     i.     Certification by the District that it has fully and sufficiently

addressed all incidents alleging harassment.

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       M.     Enforcement

              1.     The United States will monitor and review compliance with this

Consent Decree.

              2.     As part of its responsibility to monitor and review compliance with

this Consent Decree, the United States may observe trainings, interview District staff and

students (including ex parte communications with students and employees other than

school and District administrators), and request such additional reports or data as are

necessary for the United States to monitor the District and to determine whether the

District is in compliance with this Consent Decree. A response to a request by the United

States for additional reports or data necessary to determine if the District is in compliance

with this Consent Decree shall not be unreasonably withheld.           Also, with ten (10)

calendar days advance notice, the United States may visit any school in the District to

monitor compliance with the terms of this Consent Decree and the District agrees to

provide full access to the United States to perform such monitoring.

              3.     In the event that the United States believes that the District has

violated any provision of this Consent Decree, the United States will provide written

notice (including the relevant section(s) of this Consent Decree and the factual basis) of

such violation to all parties, and the District shall then respond to such notice and/or cure

such non-compliance within thirty (30) calendar days. The parties shall negotiate in good

faith in an attempt to resolve any dispute relating thereto before the United States seeks

relief with the Court. If the District and the United States are unable to resolve any

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disagreements in a reasonable period of time, any party may request that the Court

mediate the dispute.

              4.       Where there is a requirement in this Consent Decree that the District

submit material to the United States for review and approval for compliance with Title IV

and Title IX, their implementing regulations, OCR Guidance, this Consent Decree, and

the underlying reasons for this Consent Decree, and the District is unable to obtain

approval that it believes has been unreasonably withheld, the District will raise its

concerns in writing with the United States and the United States shall then respond to

such notice and/or issue the approval within thirty (30) calendar days of receipt of written

notice. The United States and the District shall negotiate in good faith in attempt to

resolve any dispute relating thereto before seeking relief. If the District and the United

States are unable to resolve any disagreements in a reasonable period of time, any party

may request that the Court mediate the dispute.

              5.       If any dispute under this Consent Decree is not resolved pursuant to

Sections V.M.1-4, supra at pp. 46-47, any aggrieved party may file a motion with the

Court for such further orders as may be necessary for, or consistent with, the enforcement

of this Consent Decree.

        VI.     STUDENT PLAINTIFFS’ RELEASES, REPRESENTATIONS
                            AND WARRANTIES

       The terms and conditions in this Section VI are by and between only the Student

Plaintiffs and the District:


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       A.     In exchange for the full and final release of claims as set forth in Section

VI.B., the District’s insurance carrier shall pay to the Student Plaintiffs the total amount

of Two Hundred Seventy Thousand Dollars ($270,000) within ten (10) business days of

the entry of the Court’s approval of the Petitions for Approval of Settlement of Claims of

Minor Plaintiffs. Such payments shall be consistent with Minn. Stat. § 540.08, where

applicable.

       B.     In consideration of the terms set forth in this Consent Decree, the

sufficiency of which is hereby acknowledged, each Student Plaintiff does hereby release

and forever discharge the District; the School Board; the members of the School Board,

and any and all of the District’s departments or divisions; together with all past and

present Board members, officers, employees, agents, insurers, reinsurers, and self-

insurers; attorneys and each and every one thereof, from all actions, claims, causes of

action, suits, debts, sums of money, controversies, trespasses, and demands whatsoever in

law or in equity, including claims for attorneys’ fees or costs, that were or could have

been asserted in the Complaints.

       C.     The Student Plaintiffs certify, represent, and warrant that they are

authorized to enter into and consent to the terms and conditions of the Consent Decree

and to execute and legally bind the parties to it.

       D.     The Student Plaintiffs hereby certify, represent, and warrant that (a) they

are the only and lawful owners of the claims and causes of action arising out of the facts

giving rise to the allegations described in the Action, and (b) they have not assigned or

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otherwise transferred to any other third party or entity any interest in any claim or cause

of action arising out of the facts giving rise to the allegations described in the Action.

       E.      Each Student Plaintiff certifies that to the extent he or she has received

Medicare or Medicaid benefits arising out of and/or relating in any manner to the Action

he or she has provided notice of the Action and will provide additional notice of this

Consent Decree as mandated by applicable law. Each Student Plaintiff further certifies

that he or she will honor such subrogation claims as are ultimately asserted relating to his

or her receipt of Medicare and/or Medicaid benefits. Student Plaintiffs acknowledge that

any and all past, present and/or future medical expenses and/or benefits, expenses,

reimbursements, liens and/or costs of any kind arising out of and/or relating in any

manner to the Action shall be their sole and continuing responsibility and not that of the

District or its insurer. Each Student Plaintiff further certifies that he or she will honor

any valid subrogation claims that are asserted relating to his or her receipt of non-

governmental medical benefits.

       F.     The Student Plaintiffs represent and warrant that—other than the

complaints filed in this Action—they have filed no other complaints, charges or other

claims against the District in any court or administrative or regulatory body (including

but not limited to the Minnesota Department of Education or the U.S. Department of

Education).

       G.     The Student Plaintiffs agree that they shall not represent this Consent

Decree or any agreements contained herein as an admission of liability or wrongdoing on

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the part of the District or any of the individual defendants named in the Action. The

Student Plaintiffs further agree that they will not identify individual District defendants or

other District employees by name in public statements concerning the allegations in the

Complaints or resolution of this matter. If the District believes that one or more of the

Student Plaintiffs has violated this provision, the District may seek an order of the Court

requiring the violating Student Plaintiff(s) to issue a corrective statement, but only after

first providing the Student Plaintiff(s) the opportunity to issue a corrective statement

within 10 days of receipt of notice of any claimed violation of this provision.

       I.     Each of the Student Plaintiffs and the District is responsible for the tax

implications that may occur to the party or their attorneys in connection with the payment

or receipt of funds pursuant to this Consent Decree.            The District has made no

representation regarding the taxability of the payments made to Student Plaintiffs

pursuant to this Consent Decree. The District will not be liable for any tax consequence

to the Student Plaintiffs as a result of the payments made pursuant to this Consent

Decree.

       J.     The Student Plaintiffs, by their signatures to this Consent Decree,

acknowledge and agree that they have carefully read and understood all provisions of this

Consent Decree and that they have entered into this Consent Decree knowingly and

voluntarily. The Student Plaintiffs acknowledge that they have been represented by their

own attorneys, and that they are voluntarily entering into this Consent Decree to resolve

the causes of action that were or could have been brought in the Complaints, and that this

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Consent Decree is agreed to and signed with the intent that it be final, binding, and

enforceable. The Student Plaintiffs also acknowledge that they have agreed to settle their

claims based on the advice and recommendation of their own attorneys, and that the

District has not made any representations or advised them as to the terms of this Consent

Decree.

      K.     The Student Plaintiffs are permanently barred and enjoined from asserting,

commencing, prosecuting, or continuing any of the claims that were settled and released

in this Consent Decree.

                              VII.   MISCELLANEOUS

      A.     This Consent Decree shall remain in effect for five (5) years from the date

of entry. The Court shall retain jurisdiction for the duration of this Consent Decree to

enforce the terms of the Consent Decree.

      B.     In consideration of, and consistent with, all the terms of this Consent

Decree, the United States agrees to refrain from undertaking further investigation into, or

pursuing further legal proceedings regarding, all matters contained within the Consent

Decree, except those rights and remedies identified in the Consent Decree.

      C.     The requirements and procedures in this Consent Decree shall be

implemented consistent with the rights and protections afforded under the MGDPA;

FERPA; 20 U.S.C. § 1232g; 34 C.F.R. Part 99; Health Insurance Portability and

Accountability Act of 1996, Public Law 104-191, 45 C.F.R. Parts 160, 162, and 164

(“HIPAA”); and other applicable law.

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       D.     In consideration of, and consistent with, all the terms of this Consent

Decree, the Student Plaintiffs’ Complaints are hereby dismissed with prejudice and

without taxing costs to any party. Student Plaintiffs retain the right to petition the Court

for the purpose of enforcing their individual rights under Sections V.L.1.b. at p. 42-43

and VI.A. at p. 48 of this Consent Decree. In the event that the Student Plaintiffs believe

that the District has violated either Sections V.L.1.b. at p. 42 or VI.A. at p. 48, the

Student Plaintiffs will provide the District written notice of such violation, and the

District shall have ten (10) calendar days to cure any violation.

       E.     In consideration of, and consistent with, all the terms of this Consent

Decree, the United States’ Complaint-in-Intervention is hereby dismissed with prejudice

and without costs to any party. The United States retains the right to petition the Court,

at any time during the duration of this Decree, for the purpose of enforcing the Decree

consistent with Section V.M.3 at p. 47 of this Consent Decree.

       F.     The individual defendants named in the Student Plaintiffs’ Complaints shall

not have any individual responsibility to carry out any of the requirements of this Consent

Decree, except (to the extent applicable) as employees of the District.

       G.     The parties agree that, as of the date of entry of this Consent Decree,

litigation is not “reasonably foreseeable” concerning the matters described herein. To the

extent that any party previously implemented a litigation hold to preserve documents,

electronically stored information, or things related to the matters described herein, the



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party is no longer required to maintain such a litigation hold. Nothing in this paragraph

relieves any party of any other obligations imposed by this Consent Decree.

       H.     This Consent Decree, including its attached exhibits, constitutes the entire

agreement by the parties and no other statement, promise, or agreement, either written or

oral, made by any party or agents of any party, that is not contained in this written

Consent Decree, shall be enforceable regarding the matters raised in this Decree.

       I.     This Consent Decree is final and has binding effect on the parties, including

all principals, agents, executors, administrators, representatives, employees, successors in

interest, beneficiaries, assigns, and legal representatives thereof.

       J.     Failure of a party to seek enforcement of this Consent Decree pursuant to

its terms with respect to any instance or provision shall not be construed as a waiver to

such enforcement with regard to other instances or any provisions.

       K.     This Consent Decree does not cover any other pending or future complaints

or investigations by OCR and/or DOJ.

       L.     This Consent Decree does not affect the District’s duty to comply with the

Equal Protection Clause, Title IV, Title IX, the MHRA, or any other law.

       M.     The District (including its officers, agents, affiliates, subsidiaries, servants,

employees, and all other persons or entities in active concert or privity with it) agrees not

to retaliate against any student or employee who in relation to the allegations outlined

above has testified, assisted, or participated in a proceeding or investigation under the

Equal Protection Clause, Title IV, Title IX, or the MHRA.

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       N.     The undersigned representatives of the parties certify that they are

authorized to enter into and consent to the terms and conditions of the Consent Decree

and to execute and legally bind the parties to it.

       O.     All parties to this Consent Decree shall undertake all reasonable and

necessary action to facilitate approval of this Consent Decree, including but not limited to

jointly petitioning the Court for approval under applicable Minnesota Statutes and

governing law for minor settlements and school district settlements.

       P.     If any provision of this Consent Decree is determined by any court to be

unenforceable, the other terms of this Consent Decree shall nonetheless remain in full

force and effect, provided however, that if the severance of any such provision materially

alters the rights or obligations of the parties, the United States, Student Plaintiffs, and the

District shall engage in good-faith negotiations in order to adopt such mutually agreeable

amendments to this Decree as may be necessary to restore the parties as closely as

possible to the initially agreed-upon relative rights and obligations.

       Q.     The Court orders that nothing in this Consent Decree shall be construed as

an acknowledgement, admission, or evidence of liability of the District or any individual

defendant. The Court further orders that nothing in this Consent Decree may be used as

evidence of District liability by Student Plaintiffs or any other private litigants in any

other proceeding.

       R.     The Court hereby refers to the Magistrate Judge all matters regarding the

management and execution of the Consent Decree, pursuant to 28 U.S.C. § 636.

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SO ORDERED



s/ Joan N. Ericksen
Honorable Joan N. Ericksen
United States District Judge



Dated: 3-6-2012




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FOR THE UNITED STATES OF AMERICA:


B. TODD JONES                              THOMAS E. PEREZ
United States Attorney                     Assistant Attorney General
District of Minnesota                      Civil Rights Division
United States Department of Justice        United States Department of Justice


GREGORY G. BROOKER, #0166066               ANURIMA BHARGAVA, Chief
ANA H. VOSS, #0483656                      KATHLEEN S. DEVINE, Senior Counsel
Assistant United States Attorneys          Civil Rights Division
United States Attorney’s Office            Educational Opportunities Section
District of Minnesota
600 United States Courthouse
300 South Fourth Street                    s/ Torey B. Cummings
Minneapolis, MN 55415                      TOREY B. CUMMINGS
Tel: 612-664-5600                          (admitted pro hac vice)
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                                           Trial Attorneys
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                                           Civil Rights Division
                                           Educational Opportunities Section
OFFICE FOR CIVIL RIGHTS                    950 Pennsylvania Avenue, NW
OFFICE OF THE GENERAL                      Washington, D.C. 20530
COUNSEL                                    Tel: 202-305-4204
U.S. Department of Education               torey.cummings@usdoj.gov
Of Counsel                                 tamica.daniel@usdoj.gov




Dated: March 1, 2012




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FOR DEFENDANT ANOKA-HENNEPIN SCHOOL DISTRICT:




Dated: March 5, 2012                    s/ Paul Cady
                                        Paul Cady, #0189406
                                        General Counsel
                                        Anoka-Hennepin School District
                                        11299 Hanson Blvd. N.W.
                                        Coon Rapids, MN 55433
                                        Tel: 763-506-1089
                                        paul.cady@anoka.k12.mn.us
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                         STUDENT PLAINTIFFS:


Dated: March 1, 2012        s/ Jane Doe
                            Jane Doe


                            E.R., by her next friend and parent, Quana Hollie

Dated: March 1, 2012        s/ Quana Hollie
                            Quana Hollie


                            K.R., by his next friends and parents,
                            Rebecca Rooker and Jim Rooker

Dated: March 1, 2012        s/ Rebecca Rooker
                            Rebecca Rooker

Dated: March 1, 2012        s/ Jim Rooker
                            Jim Rooker


                            D.F., by his next friends and parents,
                            Burnetta Frei and Jeffrey Frei

Dated: March 1, 2012        s/ Burnetta Frei
                            Burnetta Frei

Dated: March 1, 2012        s/ Jeffrey Frei
                            Jeffrey Frei


                            B.G., by her next friends and parents, Marty Geldert
                            and Michael Geldert


Dated: March 1, 2012        s/ Marty Geldert
                            Marty Geldert

Dated: March 1, 2012        s/ Michael Geldert
                            Michael Geldert
                            D.M.-B., by his next friends and parents,
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                            Michael McGee and Jason Backes

Dated: March 1, 2012        s/ Michael McGee
                            Michael McGee

Dated: March 1, 2012        s/ Jason Backes
                            Jason Backes


AS TO FORM, COUNSEL FOR STUDENT PLAINTIFFS
JANE DOE, K.R., D.F., B.G. and D.M.-B.


Dated: March 1, 2012        FAEGRE BAKER DANIELS LLP

                            s/ Michael A. Ponto
                            Michael A. Ponto, #203944
                            Martin S. Chester, #031514X
                            Christopher H. Dolan, #0386484
                            Zack L. Stephenson, #0391533
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                            NATIONAL CENTER FOR LESBIAN RIGHTS
                            Christopher Stoll (admitted pro hac vice)
                            870 Market Street, Suite 370
                            San Francisco, CA 94102
                            cstoll@nclrights.org
                            (415) 365-1335


AS TO FORM, COUNSEL FOR STUDENT PLAINTIFF E.R.


Dated: March 1, 2012        CULBERTH & LIENEMANN, LLP


                            s/ Celeste E. Culberth
                            Celeste E. Culberth, #228187
                            Leslie E. Lienemann, #23019
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